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Counselfor Plainti]j%

BROIDY CAPITAL MANAGEMENT
LLC, ELLIOTT BROIDY, and ROBIN
ROSENZWEIG,

Plaintiffs,

V.

STATE OF ATAR, ST()NINGTON
STRATEGIE LLC, NICOLAS D.
MUZIN, and DOES 1-10,

Defendants.

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISI()N

Case No. 2:18-CV-02421-JFW-(EX)
The Honorable John F. Walter

PLAINTIFFS’ EX PARTE

APPLICATION FOR

g TEMPORARY RESTRAINING
ER AGAINST DEFENDANTS‘

§ ORDER TO SHOW CAUSE FOi{
LIMINARY INJUNCTI()N;

AND 3) ORDER GRANTING

EXPE ITED DISC()VERY

[Memorandum of Points and
Authorities Declarations of Elliott
Broidy, Joei Mowbray, Luke Tenery,
and Lee Wolosky; [Proposed]
Temporary Restralning Order, Order
to Show Cause Regardlng
Preliminary Injunction, and Order

 

 

EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER, ORDER TO SHOW CAUSE FOR
PRELIMINARY INIUNCTION, AND ORDER GRANTING EXPEDITED DISCOVERY

 

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Granting EX edited Discovery, and

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On , at 10:00 a.m., or as soon thereafter as this matter may be
heard, in the courtroom of the Honorable John F. Walter, in Courtroom 7A of the
United States District Court for the Central District of California at 350 W. lst
Street, Los Angeles, CA 90012, Plaintiffs Broidy Capital Management LLC, Elliott
Broidy, and Robin Rosenzweig (collectively, “Plaintiffs”), Will and hereby do move
this Court pursuant to Federal Rule of Civil Procedure 65 and Local Rule 65-1 for a
temporary restraining order in the form filed concurrently herewith against
Defendants the State of Qatar, Stonington Strategies LLC, Nicolas D. Muzin, and
Does l-lO (collectively, “Defendants”) as folloWs:

l. Immediately enjoining Defendants, as Well as each and every one of
their officers, agents, employees, representatives, and all persons acting in concert
With them, from accessing or causing access to Plaintiffs’ computers, computer
servers, emails, or internet accounts;

2. Immediately enjoining Defendants, as Well as each and every one of
their officers, agents, employees, representatives, and all persons acting in concert
With them, from adding, altering, damaging, deleting, or destroying data located on
Plaintiffs’ computers, computer servers, emails, or internet accounts; and

3. Immediately enjoining Defendants, as Well as each and every one of
their oft`lcers, agents, employees, representatives, and all persons acting in concert
With them, from distributing, publishing, uploading, broadcasting, or otherwise
disseminating materials obtained from Plaintiffs’ computers, computer servers,

emails, or internet accounts, including any alterations of such materials, or any

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EX PARTE APPLICATION FoR TEMPORARY REsrRAINING oRDER, oRDER To snow CAUsE FoR
PRELIMINARY iNJUNCTIoN, AND oRDER GRANTING EXPEDITED DIsCovERY

 

 

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documents falsified or created to appear as though they are such materials belonging

to Plaintiffs.

Plaintiffs further ask that this Court to grant their request for an order to show
cause as to preliminary injunctive relief and an order granting their request for
limited expedited discovery against Defendants Stonington and Muzin. Plaintiffs
would like to take the depositions on any day preceding April 13, 2018 and
excluding Fridays in consideration of Defendant Muzin’s religious observances.
Plaintiffs also prefer to take the depositions at the Washington, D.C. offices of Boies
Schiller Flexner LLP, 1401 New York Ave NW, Washington, DC. Defendant
Muzin lives in Maryland. However, to the extent that this is inconvenient to the
deponent, Plaintiffs are willing to take the deposition of Nicolas D. Muzin in either
the New York, New York or the Los Angeles, Calif`ornia offices of Boies Schiller

Flexner LLP.

Plaintiffs have provided notice to Defendants of this application in the form
of a letter delivered to an address registered to a company of Defendant Muzin’s that
is also believed to be Defendant Muzin’s home; to the registered agent of
Stonington in Delaware; and to the Embassy and Consulate General of the State of
Qatar. Through counsel, the State of Qatar acknowledged receipt of the letter and
stated that it intended to be heard on this application. Plaintiffs expect that the State
of Qatar’s United States-based counsel will accept service on the State of Qatar’s
behalf and that Defendants Muzin and Stonington can be served with this
application and the other documents filed herewith in a suitable manner, as required
by paragraph 8(b) of the Court’s standing order and Local Rule 7-19.

This motion is based upon this ex parte application, the accompanying
Memorandum of Points and Authorities, the Declarations of Elliott Broidy, Joel
Mowbray, Luke Tenery, and Lee Wolosk§£ filed concurrently herewith, all of the

EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER, ORDER TO SHOW CAUSE FOR
PRELIMINARY INJUNCTION, AND ORDER GRANTING EXPEDITED DISCOVERY

 

 

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pleadings and other documents on file in this case, all other matters of which the
Court may take judicial notice, and any further argument or evidence that may be

received by the Court at the preliminary injunction hearing

Dated; April 2, 2018 R@SP€CffullY Submltted,

 

 

S. WOLOSKY
Counsel_for Plaintiffs

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Ex PARTE APPLICATION FoR TEMPORARY REsrRAINING oRDER, oRDER ro snow cAUsE FoR
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